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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Unknown Party,                                   No. CV-18-01623-PHX-DWL
10                 Plaintiff,                         ORDER
11   v.
12   Arizona Board of Regents, et al.,
13                 Defendants.
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15          The Court has reviewed the proposed redactions to the exhibits to Arizona Board
16   of Regents’ response to Plaintiff’s motion to exclude the expert opinions and testimony

17   of Peter F. Lake (Doc. 186-1 [redacted version, publicly filed]; Doc. 184 [unredacted
18   highlighted version, lodged under seal]) and has concluded that the standard for sealing is

19   met, as the redactions are limited to the names of “Protected Persons” or information that

20   would reveal Plaintiff’s identity.
21          Accordingly,
22          IT IS ORDERED that Defendant’s unopposed motion to file under seal the

23   unredacted version of these exhibits (Doc. 183) is granted. The Clerk of Court shall file

24   under seal the document lodged at Doc. 184.

25          Dated this 2nd day of December, 2021.

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